ms
Net

AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations

ton b a)
[or tera riences ostomy

by Case 3:20-cr-00798-CAB Document 35 Filed 01/15/21 epee Fh T Sa

 

 

UNITED STATES DISTRICT CO p | aN aa

 

 

 

 

 

SOUTHERN DISTRICT.OF CALIFORNIA. Lil rb
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

(For Revocation of Probation or Supervised Release)

Vv (For Offenses Committed On or After November 1, 1987)

JOEL ENRIQUE CALVO-VALDEZ (1) Case Number: 20CR0798-CAB

 

MICHAEL LITTMAN
Defendant’s Attomey
REGISTRATION NO. 83087298 ;
n -
THE DEFENDANT:

 

L] admitted guilt to violation of allegation(s) No.

after plea/conviction in related

x] found guilty in violati f allegati No. -
Xl] was found guilty in vio ation of a esa ‘on(s) a 1-2 case no. 20cr3455-CAB

 

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number Nature of Violation
1-2 nvl, Committed a federal, state or local offense

Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant’s economic circumstances.

 

January 15, 2027)
Date of Imposi of Sentence

 

HON, Cathy Ann Bencivengo
UNITED STATES DISTRICT JUDGE

 

 
?
é

gem

« . Case 3:20-cr-00798-CAB Document 35 Filed 01/15/21 PagelD.60 Page 2 of 2

AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

 

DEFENDANT: JOEL ENRIQUE CALVO-VALDEZ (1) Judgment - Page 2 of 2
CASE NUMBER: 20CR0798-CAB |

 

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:

THREE (3) MONTHS CONCURRENT AND THREE (3) MONTHS CONSECUTIVE TO THE SENTENCE IMPOSED
IN RELATED CASE NO. 20CR3455-CAB.

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

OO

[1 The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
O at AM. on

 

 

 

[] as notified by the United States Marshal.
o The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:
Conor before .
C1 as notified by the United States Marshal.
Cas notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN |
I have executed this judgment as follows:
Defendant delivered on oo to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By: DEPUTY UNITED STATES MARSHAL

if

~ 20CR0798-CAB
